            Case 4:19-cv-00342-REB Document 1 Filed 09/05/19 Page 1 of 4



Timothy D. Ducar (13423)
LAW OFFICES OF TIMOTHY D. DUCAR, PLC
7430 E Butherus Drive, Suite E
Scottsdale, AZ 85260
Telephone: (480) 502-2119
Facsimile: (480) 452-0900
orders@azlawyers.com
Attorneys for Plaintiff


                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO
                                  EASTERN DIVISION


JOHN GADISH,                                   Case No.
               Plaintiff,                      COMPLAINT AND DEMAND FOR
                                               JURY TRIAL FOR VIOLATIONS OF:
       v.
                                               Fair Debt Collection Practices Act, 15
                                               U.S.C. § 1692 et seq.
JOHNSON MARK, LLC,
              Defendant.

                  COMPLAINT AND DEMAND FOR JURY TRIAL
       Plaintiff John Gadish (“Plaintiff”), by and through his attorneys, alleges the
following against Defendant Johnson Mark, LLC (“Johnson Mark”):
                                    INTRODUCTION
       1.      Count I of Plaintiff’s Complaint is based upon the Fair Debt Collection
Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq., which prohibits debt collectors from
engaging in abusive, deceptive, and unfair practices in connection with the collection of
consumer debts.
                              JURISDICTION AND VENUE
       2.      Jurisdiction of this court arises under 15 U.S.C. § 1692 et seq. and 28 U.S.C.
§ 1331.




                                                           COMPLAINT AND DEMAND FOR JURY TRIAL
                                            -1-
              Case 4:19-cv-00342-REB Document 1 Filed 09/05/19 Page 2 of 4



         3.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) in that a substantial part
of the events or omissions giving rise to the claim occurred in this District. Defendant is a
registered Utah limited liability company; personal jurisdiction is established.
                                          PARTIES
         4.      Plaintiff is a natural person residing in Pocatello, Bannock County, Idaho
83201.
         5.      Defendant Johnson Mark is a law firm with its principal place of business
located at 4246 S Riverboat Road, Suite 100, Salt Lake City, Utah 84123, and can be
served through its registered agent, Butch L Johnson, at 4246 S Riverboat Road, Suite
100, Salt Lake City, Utah 84123.
         6.      Defendant acted through its agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and
insurers.
                                FACTUAL ALLEGATIONS
         7.      Defendant is attempting to collect an alleged debt from Plaintiff.
         8.      Prior to filing this suit, Defendant was hired by Capital One Bank, N.A. to
collect on an alleged debt owed by Plaintiff.
         9.      On or about July 25, 2019, Plaintiff and Defendant came to an agreement
(“Settlement Agreement”) to settle the alleged debt, with payments to begin July 31, 2019
and all other payments due at the end of each month until paid in full. Settlement
Agreement attached hereto as Exhibit A.
         10.     Per the Settlement Agreement, Plaintiff made his first payment on July 29,
2019.
         11.     Plaintiff then made a subsequent payment on August 14, 2019.
         12.     Despite Plaintiff making his payments on time according to the Settlement
Agreement, on or about August 21, 2019, Johnson Mark served Plaintiff with a Summons
and Complaint. Summons and Complaint attached hereto as Exhibit B.



                                                            COMPLAINT AND DEMAND FOR JURY TRIAL
                                              -2-
         Case 4:19-cv-00342-REB Document 1 Filed 09/05/19 Page 3 of 4



       13.    Defendant acted in bad faith by filing a suit against Plaintiff when the parties
had already come to an agreement to settle the underlying debt.
       14.    Plaintiff has struggled financially and believed that he was on the path to
turning his finances around, but then Defendant decided it wanted to not honor the
Settlement Agreement.
       15.    Defendant has caused Plaintiff significant emotional distress by Defendant’s
filing of a lawsuit for the underlying debt even though the parties settled the debt prior to
any suit being brought.
                                         COUNT I
                   (Violations of the FDCPA, 15 U.S.C. § 1692 et seq.)
       16.    Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.
       17.    Defendant violated the FDCPA. Defendant’s violations include, but are not
limited to, the following:
              a.     Defendant violated 15 U.S.C. § 1692e by using false, deceptive, or
       misleading representations in connection with the collection of a debt;
              b.     Defendant violated 15 U.S.C. § 1692e(2)(A) by falsely representing
       the character or legal status of a debt;
              c.     Defendant violated 15 U.S.C. § 1692e(10) by using false
       representation or deceptive means to collect a debt;
              d.     Defendant violated 15 U.S.C. § 1692f by using unfair or
       unconscionable means in connection with the collection of an alleged debt; and
              e.     Defendant violated 15 U.S.C. § 1692f(1) by using unfair means to
       collect on an amount unless such amount is expressly authorized by the agreement
       creating the debt or permitted by law.




                                                           COMPLAINT AND DEMAND FOR JURY TRIAL
                                             -3-
            Case 4:19-cv-00342-REB Document 1 Filed 09/05/19 Page 4 of 4



       18.     Defendant’s acts as described above were done intentionally with the
purpose of coercing Plaintiff to pay the alleged debt and to mislead and to confuse Plaintiff
as to who the alleged debt is owed.
       19.      As a result of the foregoing violations of the FDCPA, Defendant is liable to
Plaintiff for, actual damages, statutory damages, and attorneys’ fees and costs.
                                 PRAYER FOR RELIEF
       WHEREFORE, Plaintiff John Gadish, respectfully requests judgment be entered
against Defendant Johnson Mark, LLC for the following:
       A.      Statutory and actual damages pursuant to 15 U.S.C. § 1692k;
       B.      Costs and reasonable attorneys’ fees pursuant to 15 U.S.C. § 1692k(3);
       C.      Awarding Plaintiff any pre-judgment and post-judgment interest as may be
allowed under the law; and
       D.      Any other relief that this Honorable Court deems appropriate.
       Respectfully submitted this 5th day of September, 2019
                                   LAW OFFICES OF TIMOTHY D. DUCAR, PLC

                                 By: /s/ Timothy D. Ducar      .
                                     Timothy D. Ducar, Esq. (13423)
                                     7430 E Butherus Drive, Suite E
                                     Scottsdale, AZ 85260
                                     Attorneys for Plaintiff




                                                          COMPLAINT AND DEMAND FOR JURY TRIAL
                                            -4-
